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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SOUTHWEST AIRLINES CO.,                        §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §     Civil Action No. 3:21-cv-00098
                                               §
KIWI.COM, INC. and                             §
KIWI.COM S.R.O.,                               §
                                               §
       Defendants.                             §


         PLAINTIFF SOUTHWEST AIRLINES CO.’S ORIGINAL COMPLAINT


       Southwest Airlines Co. (“Southwest” or “Plaintiff”) files this Original Complaint against

Kiwi.com, Inc. and Kiwi.com s.r.o. (collectively, “Kiwi” or “Defendants”), and shows:

                                I.      NATURE OF ACTION

       1.      Almost 50 years since its first flights in 1971, Southwest Airlines has grown to

become one of the most-flown airlines in the United States. In peak travel seasons during 2019,

Southwest operated more than 4,000 daily departures among a network of more than 100

destinations in the United States and 10 additional countries. In 2020, Southwest added service to

new destinations in Hawaii, Florida, Colorado, and will soon begin service to more U.S. cities in

2021. Southwest prides itself on offering customer-friendly policies, including its unique “Bags

Fly Free” policy (each customer can check two bags for free, subject to weight and size limits) and

its “No Change Fees” policy (Southwest does not charge fees to change or cancel flights, though

fare differences may apply).




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         2.      Through its website at www.Southwest.com (the “Southwest Website”), Southwest

offers its customers low-fare flights, along with providing ticket information, reservation details,

and additional booking options for Southwest flights and ancillary services.

         3.      Southwest maintains the exclusive online distribution rights to sell Southwest

tickets to the general public through the Southwest Website and does not allow online travel

agencies (“OTAs”) to sell Southwest flights without express written approval. Southwest has long

controlled access to the Southwest Website and, in doing so, prevents OTAs or travel websites

from unauthorized sale of flights. Among other things, the Terms & Conditions for use of the

Southwest Website expressly prohibit any attempts to “page scrape” flight data and any use of the

Southwest Website “for any commercial purpose” without authorization from Southwest. 1

         4.      In the past, Southwest has successfully prosecuted actions and obtained injunctions

against website operators or OTAs attempting to scrape data from the Southwest Website for

commercial purposes without authorization by Southwest. See, e.g., Southwest Airlines Co. v.

Farechase, Inc., 318 F.Supp.2d 435 (N.D. Tex. 2004); Southwest Airlines Co. v. BoardFirst,

L.L.C., No. 3:06-CV-0891-B, 2007 WL 4823761, at *4-11 (N.D. Tex. Sept. 12, 2007); Southwest

Airlines Co. v. Infare Solutions A/S, no. 3:10-cv-01674-M (N.D. Tex. 2010); Southwest Airlines

Co v. Checkinsooner.com, LLC, 3:10-cv-01512-K (N.D. Tex. 2010).

         5.      Kiwi operates an OTA business at kiwi.com that has engaged in repeated, unlawful

activity on the Southwest Website, and ignored a series of cease-and-desist demands from

Southwest. Kiwi’s unlawful conduct includes:

              a. Page Scraping: Kiwi has knowingly violated the Terms & Conditions through its

                 unauthorized scraping of flight and pricing data from the Southwest Website;


1
    A true and correct copy of the Terms & Conditions is attached as Exhibit A.



                                                  2
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            b. Unauthorized Sale: Kiwi has knowingly violated the Southwest Terms by selling

               Southwest tickets without approval from Southwest and therefore has engaged in

               unauthorized commercial activity;

            c. Unauthorized Services: Kiwi has knowingly violated the Southwest Terms by

               charging certain “service fees” that are not otherwise charged by Southwest;

            d. Trademark Infringement: Kiwi has knowingly violated Southwest’s registered

               trademarks by displaying, among other things, Southwest’s famous “Heart” logo

               on the Kiwi site;

            e. Unauthorized Access: Kiwi has violated federal and state law by continuing to

               access the Southwest Website without authorization from Southwest;

       6.      Kiwi’s conduct is unlawful, deceptive, and harmful to Southwest’s customers

because Kiwi misrepresents Southwest’s policies and charges unsuspecting customers fees for

things that are free on the Southwest Website. Such conduct not only harms the consumers, but

also Southwest by eroding consumer goodwill, tarnishing and diluting Southwest’s brand and

trademarks, and commercializing Southwest’s proprietary information without authorization.

       7.      On multiple occasions since 2018, Southwest has sent Kiwi written cease-and-

desist demands in emails and letters—sent to Kiwi’s chief legal counsel and to Kiwi’s registered

agents in the United States—demanding that Kiwi stop this unlawful conduct. 2 Southwest

specifically referenced the Terms & Conditions for use of the Southwest Website and even

attached a copy of the Term & Conditions, pointing out examples of why Kiwi’s conduct was

unlawful, improper, and a violation of Southwest’s legal rights.


2
 A true and correct copy of an email chain with cease-and-desist emails to Kiwi dated September
17, 2018, and August 28, 2019, is attached as Exhibit B, and a true and correct copy of a cease-
and-desist letter to Kiwi dated December 11, 2020, is attached as Exhibit C.


                                                3
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       8.      Kiwi received the cease-and-desist notices and responded to them with emails

seeking to form a business relationship with Southwest. 3 Although Southwest made it very clear

that it has no interest in forming a business relationship with Kiwi and that Kiwi should

immediately cease and desist its ongoing unlawful, deceptive, and harmful conduct, Kiwi has

ignored those demands. Instead, Kiwi has provided Southwest reports detailing its commercial use

of the Southwest Website through a purported Kiwi account representative. 4

       9.      Southwest sent a final cease-and-desist letter to Kiwi on December 11, 2020, but

Kiwi again has refused to cease its unlawful conduct. Accordingly, Southwest files this suit to

enjoin Kiwi’s unauthorized access to the Southwest Website, to stop the misuse and infringement

of Southwest’s registered trademarks, and to recover damages for Kiwi’s unauthorized activities.

                                     II.    THE PARTIES

       10.     Southwest Airlines is a Texas corporation with its principal place of business

located at 2702 Love Field Drive, Dallas, Texas 75235.

       11.     Defendant Kiwi.com, Inc. is a Delaware corporation with its principal place of

business at 1209 Orange Street, Wilmington, Delaware 19801. Kiwi.com, Inc. may be served with

process through either (a) its registered agent, Northwest Registered Agent Service, Inc., 8 The

Green, Suite B, Dover, Delaware 19901; or (b) its registered agent, Northwest Registered Agent

Service, Inc, 7901 4th St. N, Suite 300, St. Petersburg, Florida 33702.




3
 A true and correct copy of an email response from Kiwi dated September 9, 2019, is attached as
Exhibit D.
4
 A true and correct copy of an email from Kiwi to Southwest dated July 14, 2020, is attached as
Exhibit E.



                                                4
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         12.     Defendant Kiwi.com, s.r.o. is a Czechoslovakian limited liability company

identifying its address as Palachovo náměstí 4, 625 00 Brno, Czech Republic. Kiwi.com, s.r.o. can

be served at that address.

                              III.   JURISDICTION AND VENUE

         13.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338

because Southwest asserts claims arising under 15 U.S.C. §§ 1114, 1116, 1117, and 1125 of the

Lanham Act. This Court has supplemental jurisdiction over the related state law claims pursuant

to 28 U.S.C. § 1367.

         14.     This Court has jurisdiction over Kiwi and this dispute pursuant to the Terms &

Conditions for use of the Southwest Website, which provide as follows:

         Forum Selection
         These Terms and the relationship between you and Southwest shall be
         governed by the laws of the State of Texas without regard to any conflict of
         law provisions. You agree to the personal and exclusive jurisdiction of the
         courts located within Dallas, TX. You hereby consent to the exclusive
         jurisdiction and venue of the State and Federal courts in Dallas, Texas in all
         disputes. You agree and understand that you will not bring against the
         Southwest Parties any class action lawsuit related to your access to, dealings
         with, or use of the Service. 5

         15.     In addition to consenting to this Court’s jurisdiction by using the Southwest

Website (even after receiving multiple cease and desist notices), Kiwi has committed torts in this

District, breached a contract in this District, violated Texas statutory law in this District, and

systematically conducts business in this District. Kiwi has purposefully availed itself of the forum

by soliciting business from Texas residents and purposefully directing its actions towards Texas,




5
    Ex. A, Terms & Conditions at 3 (emphasis in original).



                                                  5
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including by offering and selling flights in Texas, and soliciting business from Southwest’s

commercial and marketing leadership at its headquarters in Dallas, Texas.

       16.     For example, Kiwi’s website offers and sells Southwest flights to airports to ten

(10) Texas cities, including: Dallas (DAL), Houston (HOU), Austin (AUS), San Antonio (SAT),

El Paso (ELP), Midland/Odessa (MAF), Lubbock (LBB), Amarillo (AMA), Harlingen (HLG), and

Corpus Christi (CRP) (collectively, “Texas Airports”).

       17.     Kiwi has sold more than 19,000 Southwest tickets with an origin or destination at

one of the Texas Airports.

       18.     Kiwi has sold more than 1,400 Southwest reservations (for more than 1,800

passengers) that include a billing zip code in Texas.

       19.     The injuries Kiwi inflicts on Southwest are felt in this District, and Kiwi knew that

serious harmful effects from its conduct would occur here.

       20.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the claims

asserted in this action arose in this District and a substantial part of the activities, conduct and

damages have occurred in Texas. During all relevant times, Kiwi repeatedly, knowingly and

intentionally accessed without Southwest’s authorization Southwest servers located in this judicial

district. Additionally, as quoted above, pursuant to the Terms & Conditions quoted above, Kiwi

consented to exclusive jurisdiction of courts in Dallas, Texas for all disputes relating to the use of

the Southwest Website.

                      IV.     FACTS GIVING RISE TO THIS ACTION

   A. Southwest’s Operation and Website

       21.     Since its first flight in June 1971, Southwest has provided affordable flights to

business and leisure passengers for almost 50 years. Southwest became the nation’s largest




                                                  6
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domestic air carrier in 2003 and, with its domestic-focused network, it continues to be one of the

most-flown airlines in the United States. In peak travel seasons during 2019, Southwest operated

more than 4,000 daily departures among a network of more than 100 destinations in the United

States and 10 additional countries.

         22.    In the highly competitive airline industry, Southwest has been successful in large

measure because of Southwest’s commitment to customer service and consumer loyalty, including

its well-known promises of fares with “no hidden fees” and “no change fees” (though fare

differences may apply).

         23.    Southwest owns and operates the Southwest Website. Southwest also maintains the

exclusive online distribution rights to sell Southwest tickets to the general public through the

Southwest Website and does not allow online travel agencies to sell Southwest flights without

express written approval. Southwest has long prevented website operators, OTAs, and travel

applications from selling its flights and the Terms & Conditions for the Southwest Website include

a list of Restricted Activities that prohibit attempts to “page scrape” or using the Southwest

Website “for any commercial purpose” without permission from Southwest. 6

         24.    To protect the security of its website and ensure normal operations, Southwest

makes its website and the proprietary contents available for consumers’ use subject to the Terms

& Conditions. An interactive link on each page of Southwest’s website, including the homepage,

references the Terms & Conditions.

         25.    Because use of the Southwest Website constitutes acceptance of the Terms &

Conditions, the Terms & Conditions constitutes a valid and enforceable contract between

Southwest and those who access the website. Moreover, since 2018, Southwest has sent multiple


6
    See Ex. A, Terms & Conditions at 2.



                                                7
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cease and desist letters to Kiwi, pointing out and explaining Kiwi’s violations of the Terms &

Conditions, yet Kiwi has continued its unlawful conduct, including page-scraping flight data and

other activities that violate the Terms & Conditions.

         26.      The Terms & Conditions for use of the Southwest Website specifically prohibit,

among other things, the following user conduct:

               a. Use of the Southwest Website to “copy, display, distribute, publish, re-post,

                  reproduce, re-use, sell, transmit or use the Service or Company Information to

                  create a derivative work;”

               b. Use of the Southwest Website or Company Information “for any commercial

                  purpose, with the exception of authorized Southwest travel agents/agencies;”

               c. Engaging in any activity in connection with the Southwest Website or Company

                  Information that is “fraudulent, unlawful, false or misleading . . . .”;

               d. Attempts to “harvest any information from the [Southwest Website];”

               e. Attempts to “infringe any intellectual property or other right of any third party;”

               f. Use of the Southwest Website “to make any speculative, fraudulent, or false

                  reservation or any reservation in anticipation of demand;” and

               g. “[U]se [of] any deep-link, page-scrape, robot, crawl, index, spider, macro

                  programs, Internet agent, or other automatic device, program, algorithm or

                  methodology which does the same things to use, access, copy, acquire information,

                  . . . search, generate searches, or monitor any portion of the [Southwest Website]

                  or Company Information[.]” 7




7
    See Ex. A, Terms & Conditions at 2.



                                                     8
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         27.     The Tenns & Conditions also provide that, by accessing the Southwest Website,

"you also agree you will not use the [Southwest Website] for or in connection with offering any

third party product or service not authorized by Southwest. " 8

      B. Southwest's Registered Trademarks

         28.     Southwest is the owner of, among other things, the federal trademark registrations

listed below (hereinafter collectively refened to as the "Southwest Marks"):9

    ~


    SOUTHWEST
                     Baa.

                      Registered:
                                          .....
                                          (Int'l Class: 39)
                                                                                      N'&.

                                                                                      Reg. No.:
    AIRLINES          Dec. 8, 1992        transportation services; namely,            1,738,670
                                          transportation of cargo and passengers
                                          by air


    SOUTHWEST         Registered:         (Int'l Class: 39)                           Reg. No.:
                      Aug. 15, 2006       Transportation of passengers and/or         3,129,737
                                          goods by air


                      Registered          (Int'l Class: 35)                           Reg. No.:
                      September 8, 2015   providing electronic on-line                4,806,962
       ~              Int'l Class: 35
                      First Use:
                                          infonnation services, namely, the
                                          provision of advertisements and
                      September 8, 2014   business info1mation in respect of
                      Filed: October 1,   travel, tow-ism and entertainment
                      2014                through a computer database;
                                          advertising services and promotion
                                          services by data collllllunications for
                                          service providers in the travel industry;
                                          on-line direct electronic marketing
                                          services and advertising services for
                                          service providers in the travel industty;
                                          providing online info1mation to others,
                                          namely, advertisements and
                                          solicitations




8
    See Ex. A, Tenns & Conditions at 2.
9
 Trne and con ect copies of the registrations certificates for the Southwest Marks are available free
of charge from the USPTO's Trademark Electrnnic Search System (TESS) database available at
https://www.uspto.gov/trademarks-application-process/search-trademark-database.



                                                     9
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~            Baa.

             Registered July 7,
                                   .....
                                   (Int'l Class: 16)
                                                                                  N'&.

                                                                                  Reg. No.:
             2015                  printed matter, namely, publications,          4,768,7 17




•
             Int'l Class: 16       magazines, and books all featuring
             First Use:            infonnation about the airline and travel
             September 8, 2014     industly
             Filed: December 1,
             2014


             Registered April      (Int'l Class: 39)                              Reg. No.:
             14, 2015              air transportation of passengers and           4,720,322
~            Int'l Class: 39
             First Use:
                                   freight; air transportation se1v ices
                                   featuring a frequent flyer bonus
             September 8, 2014     program; airline transportation
             Filed: September 8,   services; delivery of goods by air;
             2014                  freight transportation by air; making
                                   rese1v ations and bookings for
                                   transportation; making transportation
                                   bookings and reservations for others by
                                   means of a w ebsite; on-line
                                   transportation rese1v ation and travel
                                   ticket reservation se1v ices; online
                                   transportation rese1v ation services;
                                   providing a w ebsite featuring
                                   infonnation in the field of air
                                   transportation; providing automated
                                   check-in and ticketing se1v ices for air
                                   travelers; transpo1t by aircraft; ti·ansport
                                   by air; ti·ansport of passengers;
                                   transpo1t of persons and goods;
                                   transpo1tation of passengers and/or
                                   goods by air; travel agency services,
                                   namely, making rese1v ations and
                                   bookings for ti·ansportation


             Registered April      (Int'l Class: 09)                              Reg. No.:
             21 , 2015             computer application softv.•are for            4,723,791
~            Int'l Class: 09
             First Use:
                                   mobile phones, namely, software for
                                   delive1y of personalized travel
             September 8, 20 14    infonnation; computer e-commerce
             Filed: September      software to allow users to perform
             22, 2014              electronic business transactions via a
                                   global computer network; computer
                                   software for the delive1y of
                                   personalized travel info1mation that
                                   may be downloaded from a global
                                   computer network; downloadable
                                   mobile applications for providing
                                   personalized travel info1mation namely
                                   flight check-in, flight status, and flight
                                   and car rental info1mation and se1v ices;
                                   downloadable softv.•are in the nature of
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 ~                  Baa.                 .....
                                         a mobile application for the delivery of
                                                                                    N'&.

                                         personalized travel info1mation


                    Registered April     (Int'l Class: 43)                          Reg. No.:
                    21,2015              making hotel reservations for others;      4,723,789
    ~               Int'l Class: 43
                    First Use:
                                         providing a w ebsite featuring
                                         infonnation in the field of hotels and
                    September 8, 2014    tempora1y accommodations for
                    Filed: September     travelers; providing personalized
                    22, 2014             infonnation about hotels and temporruy
                                         accollllllodations for travel via the
                                         intemet


                    Registered Janua1y   (Int'l Class: 41)                          Reg. No.:
                    26, 2016             providing info1mation on                   4,892,223
    ~               Int'l Class: 41
                    First Use:
                                         entertainment, sporting, and cultural
                                         events and venues, amusements parks,
                    September 8, 2014    tourist attractions, and recreational
                    Filed: May 22,       activities; ticket reservation and
                    2015                 booking services for entertainment,
                                         sporting, and cultural events and
                                         venues, amusement parks, tourist
                                         attractions, and recreational services



       29.     Southwest spends substantial time, money, and effo1i adve1iising and promoting its

products and services using its trademarks throughout the United States. The Southwest Marks

provide Southwest with the exclusive right to use the registered marks in connection with air

transpo1iation and other travel services, as well as the right to exclude third paiiies from

unauthorized use of the mai·ks. Through years of nationwide and continuous use and

adve1i isement, Southwest has established eno1mous goodwill with respect to these marks, and they

ai·e Southwest's valuable intellectual prope1iy. The Southwest Marks have become famous,

distinctive and well known, and the public accepts the marks as indicative that Southwest is the

source of those services.




                                                   11
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   C. Kiwi’s Wrongful, Unauthorized, and Misleading Conduct

       30.     Upon information and belief, both Kiwi.com s.r.o. and Kiwi.com, Inc. control and

direct kiwi.com. Kiwi operates a travel website that offers, among other things, airline flights and

itineraries on many U.S.-based airlines.

       31.     In connection with these services, Kiwi knowingly and intentionally targets the

Southwest Website to harvest Southwest’s fare and pricing information for its own commercial

benefit and without Southwest’s authorization. Kiwi uses Southwest’s information in a manner

that is fraudulent, false or misleading, and that violates the Terms & Conditions of the Southwest

Website

       32.     On information and belief, Kiwi sold approximately 187,000 Southwest tickets

between 2017 and the first half of 2020.

       33.     After receiving complaints from consumers who booked Southwest flights through

the Kiwi website, and upon visiting the kiwi.com website, Southwest discovered Kiwi’s infringing

use of Southwest’s famous “heart” trademark, as well as the “Southwest Airlines” mark, as circled

in the Kiwi website screenshots below:



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       34.    Kiwi’s use of the Southwest trademarks to identify and sell flights on Southwest

negatively impacts Southwest’s reputation. For example, booking on kiwi.com is more expensive

than booking on the Southwest Website because Kiwi charges additional fees. Thus, Kiwi is not

merely scraping data and republishing it; Kiwi is improperly extracting data from the Southwest

Website and trading on Southwest’s reputation for having no hidden fees in support of its own

commercial activity.

   D. Kiwi Inflates Fares and Charges Service Fees That Are Not Collected By Southwest

       35.    Kiwi does not identify the flight prices or additional charges in a transparent or

straightforward manner. By way of example and comparison, the Southwest Website shows a total

price of $395.97 for a round-trip, non-stop flight from Dallas, Texas (DAL) to Savannah, Georgia

(SAV) with an outbound flight on March 13, 2021 and a return flight on March 20, 2021 (the

“Dallas-Savannah Flight”):




                                                                               13
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             Southwest" s:'                                                                      ~   DAL:          sAv                         $J9ts1 v
              Trip & Price Details                                                                            0
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       36.          But Kiwi inflates the price of the Dallas-Savannah Flight to $414 by adding a

"Service Fee" or "Other Fees" of about $18 to the actual ticket price:


         Sat Mar 13
          •     10:10 AM Dallas DAL

          ,&.    2h 25m     •      +        Direcl                                                     a
          •     1:35 PM Savannah SAV

                                                  7 nights in Savannah

         Sat Mar 20
          •     1:20 PM Savannah SAV

          ,&.    2h SSm     •      +        Direct                                                     a
          •     3:15 PM Dallas DAL



             Economy         I   7 kg                                                 v   Show details




       37.          Kiwi also promises an "Automatic flight check-in," which violates the Te1ms &

Conditions on the Southwest Website because "online check-in providers may not use Southwest




                                                                                      14
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web pages to check-in customers online or attempt to obtain for them a boarding pass in any certain

boarding group.” 10 Moreover, on information and belief, Kiwi does not actually provide customers

with an automatic flight check-in service, despite promising it.

         38.     Kiwi also misrepresents that Southwest fares purchased through kiwi.com are

nonrefundable or subject to change fees, which is not true because Southwest’s fare policies have

“No Change Fees” (though fare differences may apply); and tickets are always refundable (i.e.,

Business Select or Anytime fares) or reusable as travel credit (i.e., Wanna Get Away fares). In the

example below, Kiwi falsely represents that the fare for the Dallas-Savannah Flight (which Kiwi

upcharges from $395.97 to $413.46) is nonrefundable (which is not true) and further misrepresents

that (a) the “Saver Ticket” (for $413.64) is not eligible for a refund; (b) rebooking would cost the

price of a new ticket; and (c) there would be limited customer support. Each of those statements is

false or misleading, as Kiwi upcharges the price of a Southwest flight by more than $200 for

“services” and rebooking options even though Southwest has a “No Change Fees” policy

(Southwest does not charge fees to change or cancel flights, though fare differences may apply).




10
     See Ex. A, Terms & Conditions at 2.



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                      Dallas-+ Savannah and back

                       Select your t icket fare
                       Pay now for peace of mind. Save later if you need to make a necessa ry change to your iti nerary. ~

                                                                       ■-, +i::i:: I: ·A■



                                  Saver Ticket                         Standa rd Ticket                          Flexi Ticket
                                    $ 4 13.64                             $ 550.26                               $ 6 41.34


                                                                                                         ✓    Pr~m.i un,Services




                                                                  X NQ_Je:fYDd                           ✓   .9.0%.Je_
                                                                                                                     fu..od
                           X No..r.e:f.v11d.


                              Continue with Saver                  Continue with Standard                    Continue with Flexi




                         O     Cancellation and rebooking are on ly available up to 48 hours before the first departure in your
                               it ine rary.




       39.     On the next page of the booking path, Kiwi again misrepresents Southwest’s ticket

policies by indicating a customer would need to pay an additional $24.55 for “Premium Services”

to get email support or avoid fees for other services. In effect, Kiwi is seeking to further increase

the price of a Southwest flight by an additional $24.55 for “services” that are not otherwise

collected by Southwest because it does not charge any fees for email support or customer service.




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         Upgrade your level of Kiwi.com services
         Receive faster su pport , shorter wa it t imes, and reduced costs o n extra services like ~eat selection o r additional
         baggage. Lea rn more


                                                             •M+l::l::11:H•
                    Basic Services                             Plus Services                        Premium Services
                        Included                                    $12.27                                $ 24.55



              X !.imited S\!P.PQr.t                   ✓ .Extended.support                       ✓    !;1(tend!!d§!!PPOr:t
                   availability                              a11a ilability                         .ava.iJa.!l.i!.itY

                                                            .Medium..caller                     ✓   .High, caller priority
                                                      ✓      priority




              X    30. € processing,,fee                                                        ✓   .No processing.fee.for
                   for.addit ional.. services          X     10.€ processi ng.fee                   .add itiona l.services
                                                             for.additional,,services



                  Continue w ith Basic                     Upgrade and continue                   Upgrade and continue




       40.        Kiwi also proposes undesirable and inefficient routes and connections without

adequate disclosure to consumers of potential issues with such routes. For example, the below

route proposes a one-hour flight from Burbank to Oakland with an almost eight-hour bus ride to

return to Burbank.




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         •      •       •       Southwest Airl   X     t:I   Chase lnflight       X    I C]    App Store Com         X      •   Southwest Airl1   X       E)   205.185.222.0/    X     (E: Burbank (Unite   X   +
         f-           C          i   kiwi.com/us/search/results/burbank-ca1ifornia-united-states/oakland-ca1ifornia-...                               *        ,JP   ii    O O         ■   &    ~     (i l!I


                Retum       v        Economy v       .It. 1 v


                                                          O To      f•@f@I§ Wher                    t            Departure Wed Oct 23                          Return     Fri Oct 25



              Duration

              Max travel time
                                                                              Wed0ct23
                                                                              •   4:20 PM Burbank BUR
                                                                                                                                                                                                            * ,.
              any (921 of 921 flights)
                                                                                      1h 10m    •       ,t..   Direct

                                                                              •   5:30 PM Oakland OAK

                                                                                                                  2 nights in Oakland

                                                                              Fri Oct 25                                                                                                     $94
                                                                0             •   5:50 PM Oakland West Oakland Station

              Stopover                                                        l       7h45m     ■ Q            Direct

              2 - 25 hours                                                    •   1 :35 AM Burbank Burbank
                                                                              Sat Oct 26

              0                                                 0
                                                                               Economy          til 20 kg        I   7 kg                         v   Show detail                              Book


              Times

                                                                              WedOct23
                                                                              •   11 :1 0 AM Burbank SUR

              Days                                                                    1h 10m    •       +      Direct

                                                                              •   12:20 PM Oakland OAK

                                                                                                                  2 nights in Oakland
              Price
                                                                              Fri Oct 25                                                                                                     $94
                                                                              •   5:50 PM Oakland West Oakland Station

                                                                              l       7h45m     ■ Q            Direct                                                a
              Bags
                                                                              •   1 :35 AM Burbank Burbank
                                                                              Sat Oct 26


              Carriers
                                                                               Economy          til 20 kg        i   7 kg                         v   Show detail




       41.             These and other unlawful, deceptive, and harmful practices by Kiwi deliver inferior

service, cause customers to incur hidden fees, and directly contradict Southwest’s policies, all of

which harms Southwest’s reputation and customer goodwill.

   E. Kiwi Refuses to Cease its Wrongful Conduct

       42.             Beginning in 2018, Southwest sent a series of cease-and-desist letters to Kiwi

demanding that it stop selling Southwest fares and displaying its trademark logos. These letters

also emphasized Kiwi’s violations of Southwest’s Terms & Conditions.

       43.             For example, in August 2018, Southwest sent a cease-and-desist notice to Kiwi that

(a) provided actual knowledge of the Terms & Conditions; and (b) notified Kiwi that it was

violating the Terms & Conditions through, among other things, its unauthorized web scraping

activity and offering a third-party product or service not authorized or approved by Southwest.


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       44.     However, Kiwi continued to violate the Terms & Conditions through the display of

Southwest Marks, scraping fare data from the Southwest Website, and engaging in the

unauthorized sale of Southwest fares.

       45.     On information and belief, on or about June 3, 2019, the U.S.-based investment

firm General Atlantic made a strategic investment in Kiwi. A press release from Kiwi included a

quote from Tanzeen Syed (a Managing Director at General Atlantic) who said: “In just six years,

[Kiwi’s CEO] Oliver and the Kiwi.com team have profitably built one of the most disruptive and

transformative technology platforms in the large and fragmented online travel industry.”

       46.     On August 28, 2019, Southwest sent yet another cease-and-desist notice to the

Chief Legal Officer of Kiwi that again (a) provided additional notice of the Terms & Conditions;

and (b) notified Kiwi that it was violating the Terms & Conditions through, among other things,

its unauthorized web scraping activity and offering a third-party product or service not authorized

or approved by Southwest. Among other things, Southwest explained to the Chief Legal Officer

of Kiwi that (a) Southwest provided prior written notice to Kiwi of its trademark infringement and

violations of the Terms & Conditions; (b) Southwest never granted Kiwi permission to publish

Southwest’s fare data; and (c) Southwest has successfully pursued claims against other companies

to cease similar unlawful conduct with respect to unauthorized use of the Southwest Registrations

and/or the Southwest Website. Southwest again demanded that Kiwi immediately cease and desist

from (1) extracting Southwest’s flight and fare information from the Southwest Website and its

proprietary servers or websites; (2) publishing Southwest fare information on the kiwi.com

website, through its mobile applications or elsewhere; and (3) use of Southwest Registrations,

including the famous “Heart” logo, in violation of U.S. copyright law.




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       47.     On September 11, 2019, Kiwi’s Senior Business Development Manager Slavomir

Mucha sent an email to a Southwest Attorney (at Southwest’s headquarters in Dallas, Texas) and

acknowledged receipt of the August 2019 cease-and-desist notice. Kiwi then proposed to

Southwest’s employees in Dallas that Kiwi would like to “discuss the options of a direct co-

operation” and referenced prior business discussions with Southwest.

       48.     On October 5, 2019, Southwest responded and made clear that Southwest had “no

interest in a partnership with Kiwi” and that Kiwi should immediately stop scraping data from

southwest.com because it violates the terms and conditions of use of the website and immediately

stop using Southwest’s logos and marks for commercial purposes because it violates Southwest’s

trademark rights. Despite multiple cease-and-desist notices, Kiwi continued its practice of

unlawfully using Southwest’s data and marks for its own commercial purposes without permission

in violation of the Terms & Conditions of use of the Southwest Website.

       49.     On July 14, 2020, a Kiwi manager Pedro Gutierrez Kardum sent a LinkedIn request

to a Southwest Vice President whose profile lists his location as Dallas, Texas.

       50.     On July 14, 2020, the Kiwi Manager Pedro Gutierrez Kardum (whose title is

Business Development Manager – Americas) sent an email to a Southwest Vice President and

other Southwest leaders (at the company’s headquarters in Dallas, Texas) to “explore further

cooperation” and attached a sales report showing Southwest ticket sales on kiwi.com. The report

showed that between 2019 and the first half of 2020, Kiwi had generated €13,960,021 (equivalent

to more than $17 million) in revenue from the improper and unauthorized sale of Southwest flights.

       51.     On July 28, 2020, Kiwi’s Pedro Kardum sent a calendar invitation to schedule a

call with a Southwest Marketing employee (based in Dallas, Texas). On July 30, 2020, the

Southwest Marketing employee spoke on the phone with Kiwi’s Pedro Gutierrez Kardum. During




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this July 30th call, on behalf of Kiwi, Kardum explained that he handles accounts for U.S. airlines

and, in response, the Southwest Marketing employee: (a) explained Southwest’s business model

and distribution philosophy for the Southwest Website; (b) explained Southwest’s prior history in

sending cease and desist letters to Kiwi; (c) made clear that Southwest did not authorize scraping

of the Southwest Website; and (d) requested that Kiwi remove Southwest’s content and brand

logos from the kiwi.com website. On behalf of Kiwi, Kardum indicated that he would raise these

issues with Kiwi’s leadership; however, Kardum also said that it was unlikely that Kiwi’s

leadership would comply with Southwest’s demands.

       52.     On December 11, 2020, Southwest sent a final cease-and-desist letter to Kiwi’s

registered agent in Delaware, Kiwi’s registered agent in Florida, Kiwi’s Chief Legal Officer,

Kiwi’s CEO, a Kiwi Board Member (a General Atlantic employee), and a General Counsel for

General Atlantic to once again (a) provide additional notice of the Terms & Conditions; and

(b) notify Kiwi that it was violating the Terms & Conditions through, among other things, its

unauthorized web scraping activity and offering a third party product or service not authorized or

approved by Southwest. Southwest attached copies of its prior cease-and-desist notices, as well as

a copy of the Terms & Conditions, and once again explained to Kiwi, through its executives and

US-based registered agent, that: (a) Southwest has previously sent letters to Kiwi notifying the

company of trademark infringement and violations of the Terms & Conditions; (b) Southwest has

not granted Kiwi with access or permission to publish Southwest’s fare data; (c) Southwest has

successfully pursued claims against other companies to cease similar unlawful conduct with

respect to unauthorized use of the Southwest Registrations and/or the Southwest Website. See,

e.g., Southwest Airlines Co. v. Farechase, Inc., 318 F.Supp.2d 435 (N.D. Tex. 2004). Southwest

again demanded that Kiwi immediately cease and desist (1) extracting Southwest’s flight and fare




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information from the Southwest Website and its proprietary servers or websites; (2) publishing

Southwest fare information on the kiwi.com website, through its mobile applications or elsewhere;

and (3) using the Southwest Marks, including the “Heart” logo, in violation of U.S. copyright law.

       53.      For many months, between 2018 and 2020, several Southwest Departments have

dedicated company time and resources to investigate Kiwi’s website and its unauthorized access

of the Southwest Website.

       54.      Kiwi’s activities are causing dilution of the quality of the famous Southwest Marks

and other harm to Southwest, its business reputation, and goodwill for which Southwest has no

adequate remedy at law.

       55.      Kiwi’s activities are likely to cause, and have caused, confusion; Kiwi conduct is

misleading and deceiving to the public and is likely to lead (and has led) the public to wrongly

conclude that the goods and services offered by Kiwi originate with, are sponsored by, and/or are

authorized by Southwest—all to the damage and harm of Southwest and the public.

                                  V.      CAUSES OF ACTION

COUNT ONE: Breach of Contract

       56.      Southwest repeats and realleges the allegations above as if fully set forth herein.

       57.      Use of the Southwest Website is governed by and subject to Southwest’s Terms

& Conditions.

       58.      At all relevant times, the main homepage for the Southwest Website and other

web pages have provided a link to the Terms & Conditions and alert users that “Use of the

Southwest websites and our Company Information constitutes acceptance of our Terms &

Conditions.” The Terms & Conditions constitutes a valid and enforceable agreement between

Southwest and Kiwi.




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       59.     Through direct correspondence as early as 2018 and continuing through December

2020, Southwest further provided Kiwi with further actual notice of the Terms & Conditions,

including that Kiwi’s use of Southwest fare and pricing information without Southwest’s

authorization violated the Terms & Conditions.

       60.     Kiwi has regularly accessed the Southwest Website with knowledge of the Terms

& Conditions and its prohibitions. Despite Kiwi’s knowledge of the Terms & Conditions, Kiwi

continues to this day to access the Southwest Website to, among other things, copy, aggregate,

display, distribute and/or make derivative use of the Southwest Website and its content.

       61.     Kiwi’s actions breach the provisions of the Terms & Conditions by at least the

following: (1) using the Southwest Website to copy, display, distribute, publish, re-post,

reproduce, re-use, sell, transmit or use Southwest’s company information to create a derivative

work, namely the fare and pricing information on kiwi.com; (2) using Southwest’s company

information on fare and pricing for its own commercial gain; (3) engaging in an activity in

connection with Southwest’s company information (among other things, charging change fees)

that is fraudulent, unlawful, false or misleading; (4) harvesting information from the

southwest.com website; and (5) using one or more automatic device(s), program(s), algorithm(s)

or methodology(ies) to access, extract, and use information from the Southwest Website for, or

in connection with, offering services through kiwi.com.

       62.     Kiwi’s continued breaches of the Terms & Conditions have damaged, and will

continue to damage, Southwest.

COUNT TWO: Trademark Infringement under 15 U.S.C. § 1114

       63.     Southwest repeats and realleges the allegations above as if fully set forth herein.




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       64.       The services for which Kiwi uses the Southwest Marks are identical and/or

substantially similar to services offered by Southwest.

       65.       Kiwi’s conduct—including its prominent use of Southwest’s protected “Heart”

mark in conjunction with promoting and re-selling Southwest’s fares—has caused and is likely to

cause confusion, or to cause mistake, or to deceive as to the affiliation, connection or association

of Kiwi with Southwest, or as to the origin, sponsorship or approval of Kiwi’s goods and services

by Southwest.

       66.       The acts of Kiwi constitute infringement of one or more of the Southwest Marks in

violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114 as represented in U.S. Federal

Registration Nos. 1,738,670; 3,129,737; 4,806,962; 4,768,717; 4,720,322; 4,723,791; 3,027,789

and 4,892,223.

       67.       Southwest has suffered and will continue to suffer irreparable harm as a result of

Kiwi’s infringement of the Southwest Marks.

       68.       Southwest is entitled to monetary damages for Kiwi’s infringement.

       69.       Kiwi has acted with knowledge of Southwest’s ownership of the Southwest Marks

and with deliberate intention or willful blindness to unfairly benefit from the incalculable goodwill

symbolized by these marks. Kiwi has willfully infringed one or more of the Southwest Marks, and

the intentional nature of Kiwi’s actions make this case exceptional under 15 U.S.C. § 1117(a).

       70.       Southwest has been, is now, and will be irreparably harmed by Kiwi’s infringement

and, unless enjoined by the Court pursuant to 15 U.S.C. § 1116, Kiwi will continue to infringe the

Southwest Marks.

COUNT THREE: False Designation of Origin and Unfair Competition under 15 U.S.C.
             § 1125(a)

       71.       Southwest repeats and realleges the allegations above as if fully set forth herein.



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       72.     Kiwi’s conduct has and is likely to cause confusion, or to cause mistake, or to

deceive as to the affiliation, connection or association of Kiwi with Southwest, or as to the origin,

sponsorship or approval of Kiwi’s goods and services by Southwest. For example, consumers

associate the “Heart” log with Southwest, known for having “no change fees” (though fare

differences may apply) and “no hidden fees;” yet customers purchasing Southwest flights through

Kiwi are charged both.

       73.     The acts of Kiwi constitute false designation of origin which is likely to cause and

have caused confusion in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       74.     The intentional nature of Kiwi’s actions entitles Southwest to recover profits,

damages, costs, and attorney’s fees under 15 U.S.C. § 1117(a).

       75.     Southwest has suffered and will continue to suffer irreparable harm as a result of

such false designation of origin by Kiwi and, unless enjoined by the Court pursuant to 15 U.S.C.

§ 1116, Kiwi will continue to misrepresent and mislead the public that its services are in some

manner connected with, sponsored by, affiliated with, related to, or approved by Southwest.

COUNT FOUR: Dilution under 15 U.S.C. § 1125(c)

       76.     Southwest repeats and realleges the allegations above as if fully set forth herein.

       77.     Southwest is engaged in substantially exclusive use of the Southwest Marks.

       78.     The Southwest Marks are widely recognized by the consuming public of the United

States to indicate Southwest as the source of services provided.

       79.     The Southwest Marks have achieved fame under the relevant provisions of Lanham

Act.

       80.     Kiwi’s infringing use of the Southwest Marks occurred after the Southwest Marks

achieved such fame.




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       81.     Kiwi has acted with knowledge of Southwest’s ownership of the Southwest Marks

and with deliberate intention or willful blindness to unfairly benefit from the incalculable goodwill

symbolized by these marks.

       82.     Kiwi’s conduct has and is likely to dilute the value of one or more of the Southwest

Marks. For example, consumers associate the “Heart” logo with Southwest, known for having “no

change fees” (though fare differences may apply) and “no hidden fees;” yet customers purchasing

Southwest flights through Kiwi are charged both.

       83.     The acts of Kiwi constitute a dilution, including dilution by tarnishment, in

violation of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

       84.     Kiwi’s intentional use of one or more of the Southwest Marks has caused the

Southwest Marks to lose the distinctive quality associated with Southwest’s exclusive use of the

Southwest Marks.

       85.     The acts of Kiwi have caused harm to the reputation of the Southwest Marks due

to the deceptive, poor quality, and nature of the services and products provided by Kiwi.

       86.     The intentional nature of Kiwi’s actions entitles Southwest to recover profits,

damages and costs, and attorney’s fees under 15 U.S.C. § 1117(a).

       87.     Southwest has suffered and will continue to suffer dilution of the Southwest Marks

as a result of such actions by Kiwi and, unless enjoined by the Court pursuant to 15 U.S.C. § 1116,

Kiwi will continue to dilute the Southwest Marks.

COUNT FIVE: Computer Fraud and Abuse under 18 U.S.C. § 1030

       88.     Southwest repeats and realleges the allegations above as if fully set forth herein.

       89.     Southwest’s computers and servers are involved in interstate and foreign

commerce and communication, and are protected computers under 18 U.S.C. § 1030(e)(2).




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       90.     Kiwi intentionally accessed Southwest’s protected computers or servers without

authorization or in excess of authorization as defined by Southwest’s Terms & Conditions and

thereby obtained information from Southwest’s protected computers or servers, including but not

limited to Southwest’s fares and pricing, in violation of 18 U.S.C. § 1030(a)(2).

       91.     Kiwi knowingly and with an intent to defraud accessed Southwest’s protected

computers and servers without authorization or in excess of authorization, and by means of this

access furthered the intended fraud and obtained valuable information from Southwest’s

computers and servers, including but not limited to Southwest’s fares and pricing, to obtain

something of value, in violation of 18 U.S.C. § 1030(a)(4).

       92.     Southwest has suffered damage and loss by reason of these violations, including,

without limitation, harm to Southwest’s content and programs, and expenses associated with

being forced to investigate the unauthorized access and abuse of its computers and servers, with

other losses and damage in an amount to be proven at trial, over $5,000 aggregated over a one-

year period.

       93.     In addition, Southwest has suffered and will continue to suffer irreparable harm

and its remedy at law is not itself adequate to compensate it for injuries inflicted by the

Defendants. Accordingly, Southwest is entitled to injunctive relief.

COUNT SIX: Violation of Texas Penal Code § 33.02

       94.     Southwest repeats and realleges the allegations above as if fully set forth herein.

       95.     Kiwi knowingly, and without Southwest’s consent, accessed Southwest’s

computers, computer network or computer system, in violation of Texas Penal Code § 33.02.

       96.     Southwest, and its property, has been and will continue to be damaged as the result

of Kiwi’s violations.



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       97.     Pursuant to Texas Civil Practice & Remedies Code § 143.001, Kiwi’s knowing

and intentional violation of Texas Penal Code § 33.02 makes Kiwi liable for its harmful access

of Southwest’s computers, computer network, or computer system.

       98.     Southwest has suffered and will continue to suffer irreparable harm for which

there is no adequate remedy at law. Accordingly, Southwest is entitled to injunctive relief.

COUNT SEVEN: Unjust Enrichment under Texas Common Law

       99.     Southwest repeats and realleges the allegations above as if fully set forth herein.

       100.    Kiwi has been unjustly enriched by taking undue advantage of Southwest’s

publicly available fare information. Kiwi has benefitted from the use of Southwest’s proprietary

information and makes a profit from offering Southwest flights through its website.

       101.    Southwest has been and continues to be injured by Kiwi’s unlawful acts and is

entitled to damages.

                                  VI.    ATTORNEY’S FEES

       102.    Southwest repeats and realleges the allegations above as if fully set forth herein.

       103.    Southwest was required to retain the undersigned’s services in the prosecution of

this claim. Pursuant to at least Texas Civil Practice & Remedies Code §§ 38.001 and 143.002,

Southwest seeks reasonable and necessary attorney’s fees.

                       VII.   APPLICATION FOR INJUNCTIVE RELIEF

       104.    As set forth above, Kiwi’s actions in violation of the Lanham Act and Texas law

have caused, and are continuing to cause, substantial and irreparable damage to Southwest for

which there is no adequate remedy at law. Kiwi has improperly used and will continue to

improperly use the Southwest Marks unless this Court prevents it from doing so. Southwest will

continue to lose control over its own reputation and goodwill, and the public and consumers likely



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will continue to be confused, misled, and deceived by the fact that Kiwi offers competing or related

services under the Southwest Marks. Southwest has a substantial likelihood of success on the

merits and is, therefore, entitled to an injunction preventing Kiwi’s continued infringement,

including an injunction against Kiwi’s continued use of the Southwest Marks.

       105.     Southwest requests that Kiwi, all companies owned or controlled by any of them

either directly or indirectly, their employees, representatives, agents, members, and others acting

in concert with them, be preliminarily and permanently enjoined from: (1) extracting Southwest’s

flight and fare information from the Southwest Website and its proprietary servers or websites;

(2) publishing Southwest fare information on any website, including kiwi.com, through its mobile

applications or elsewhere; (3) using the Southwest Marks, including the famous “Heart” logo, in

violation of U.S. trademark law; and (4) accessing and using Southwest’s website and data in

violation of Southwest’s Terms & Conditions.

                                VIII. PRAYER FOR RELIEF

       Southwest respectfully requests an order and/or judgment:

       A.       That the Defendants, their officers, members, managers, affiliates, agents,

employees, servants, representatives, any entities owned or controlled by them, and all persons

acting under or in concert with them, be preliminarily enjoined throughout the pendency of this

lawsuit, and permanently enjoined thereafter, from: (1) extracting Southwest’s flight and fare

information from the Southwest Website and its proprietary servers or websites; (2) publishing

Southwest fare information on the kiwi.com website, through its mobile applications or elsewhere;

(3) use of the Southwest Marks, including its famous “Heart” logo, in violation of U.S. copyright

law; and (4) accessing and using Southwest’s Website and data in violation of Southwest’s Terms

& Conditions;




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       B.       That the Defendants be enjoined from using the Southwest Marks, or any other

mark, word or name confusingly similar to or including those marks, in the ordinary course of

business;

       C.       That the Defendants be required to account for and pay to Southwest all profits and

benefits they derived as a result of the activities complained of herein;

       D.       That the Defendants be required to pay to Southwest actual, consequential, and

compensatory damages sustained as a result of the activities complained of herein;

       E.       That the Defendants be required to pay increased damages due to their willful

infringement;

       F.       That the Defendants be required to pay pre-judgment and post-judgment interest at

the highest rates allowed by law;

       G.       That the Defendants be required to pay costs and attorney’s fees; and

       H.       For such other and further relief as this Court deems just and proper.




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Dated: January 14, 2021              Respectfully submitted,

                                   By: /s/ Michael C. Wilson
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825304




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